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                               IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

               Plaintiff,

               v.                                           Case No. 13-20125-18-JAR

MANUEL LOPEZ-DEHARO,

               Defendant.



                                    MEMORANDUM AND ORDER

       This matter comes before the Court upon consideration of Defendant Manuel Lopez-

Deharo’s Motion For Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2) (Doc. 505). For

the reasons explained below, the motion is denied.

       On October 21, 2015, Defendant pled guilty pursuant to Fed. R. Crim. P. 11(c)(1)(C) to

one count of aiding and abetting the possession with the intent to distribute and distribution of

methamphetamine, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C) and 18 U.S.C. § 2.1 In

anticipation of sentencing, the United States Probation Office prepared a Presentence

Investigation Report (“PSR”), which determined that Defendant was responsible for 4.5

kilograms or more of ice methamphetamine, resulting in a base offense level of 38.2 Defendant

was assessed a four-level increase for his role in the offense as an organizer or leader of a

criminal activity that involved five or more participants pursuant to U.S.S.G. § 3B1.1(a),3 and a

three-level decrease for acceptance of responsibility, resulting in a total offense level of 39.4


       1
           Doc. 395.
       2
           Doc. 429 at ¶ 61.
       3
           Id. at ¶ 64.
       4
           Id. at ¶ 70.




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Defendant’s criminal history was I, resulting in a Guidelines range of 262 to 327 months.5

Neither party objected to the PSR.

        On January 26, 2016, the Court sentenced Defendant to 60 months’ imprisonment, as the

parties agreed in the Rule 11(c)(1)(C) plea agreement.6 Defendant did not file a direct appeal in

this matter. On December 12, 2016, Defendant filed the instant motion, seeking a sentence

reduction under Amendment 794 and § 3582(c)(2).

        Defendant requests the Court grant him a minor role reduction under Amendment 794,

which was effective November 1, 2015, but does not suggest what his new sentence should be.

Amendment 794 was incorporated into the 2015 edition of the United States Sentencing

Guidelines, upon which the PSR relied when calculating Defendant’s imprisonment range.7

Defendant is not eligible for a § 3582(c)(2) sentence reduction because the Court sentenced him

after Amendment 794’s effective date. Section 3582(c)(2) allows a court to reduce a sentence

“in the case of a defendant who has been sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by the Sentencing Commission.”8 In other

words, § 3582(c)(2) authorizes a sentence reduction only in cases where an amendment to the

Sentencing Guidelines became effective after a defendant was sentenced. The Guidelines

reinforce this point by instructing courts to “determine the amended guideline range that would

have been applicable to the defendant if the amendment(s) to the guidelines . . . had been in

effect at the time the defendant was sentenced.”9 Thus, because Defendant was sentenced after

        5
            Id. at ¶ 112.
        6
            Doc. 435.
        7
            Doc. 429 at ¶ 60; see U.S.S.G. § 3B1.2, Historical Note (2015).
        8
            18 U.S.C. § 3582(c)(2) (emphasis added).
        9
         U.S.S.G. § 1B1.10(b)(1) (2016) (emphasis added); see also Freeman v. United States, 564 U.S. 522, 530
(2011) (noting that U.S.S.G. § 1B1.10(b)(1) “seeks to isolate whatever marginal effect the since rejected Guideline
had on the defendant’s sentence”) (emphasis added).




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Amendment 794 to the Sentencing Guidelines became effective, that Amendment may not be the

basis for a § 3582(c)(2) motion.10

         IT IS THEREFORE ORDERED BY THE COURT that Defendant Manuel Lopez-

Deharo’s Motion For Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.

         IT IS SO ORDERED.


         Dated: March 13, 2017
                                                                  S/ Julie A. Robinson
                                                                  JULIE A. ROBINSON
                                                                  UNITED STATES DISTRICT JUDGE




         10
           Although the Court need not address Defendant’s argument that Amendment 794 is retroactive, it does
note that assuming it is, he would still be ineligible for a sentence reduction, as the record indicates that he played a
leadership role in the offense, rather than a minor role. Moreover, he was sentenced outside the Guideline range
pursuant to a Rule 11(c)(1)(C) plea agreement, receiving a sentence over 200 months below the low end of the
applicable Guideline range; any reduction under Amendment 794 based on a minimal role in the offense would not
have altered his actual sentence.




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